
952 So.2d 1285 (2007)
S.L.G., A Child, Appellant,
v.
STATE of Florida, Appellee.
No. 5D04-1149.
District Court of Appeal of Florida, Fifth District.
April 13, 2007.
James S. Purdy, Public Defender, and Meghan Ann Collins, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Kristen L. Davenport, Assistant Attorney General, Daytona Beach, for Appellee.

ON REMAND FROM THE FLORIDA SUPREME COURT
PER CURIAM.
This case is on remand from the Florida Supreme Court in light of V.K.E. v. State, 934 So.2d 1276 (Fla.2006).
As to S.L.G.'s point on appeal related to the imposition of statutory surcharges pursuant to sections 938.08 and 938.085, Florida Statutes, and in light of V.K.E., we strike those portions of the disposition orders that impose a $201 "domestic violence" surcharge and a $151 "rape crisis center" surcharge.
In all other respects, the disposition orders are affirmed.
AFFIRMED; COSTS STRICKEN.
PLEUS, C.J., SAWAYA and ORFINGER, JJ., concur.
